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U.S. District Court for the Northern District Of Illinois
Attorney Appearance Form

 

at,- ART AKIANE LLC., v. - 19-cv-02952
Case Title: RT & SOUL WORKS LLC.. Case Number:

et al.,
An appearance is hereby filed by the undersigned as attorney for:
Carpentree, Inc.

Attorney name (type or print): Michael Hahn

Firm: MPB - Admiral v. Anderson et al., 19-cv-03468 (3285C-90) Def Hankins' Mot Stay
Street address: 303 W. Madison Street, Suite 300

City/State/Zip: Chicago, IL 60606

Bar ID Number: 6229385 Telephone Number: 3127816569

(See item 3 in instructions)

Email Address: hahn@litchfieldcavo.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Are you acting as lead counsel in this case? | Yes No
Are you acting as local counsel in this case? Yes |W] No
Are you a member of the court’s trial bar? v| Yes No
If this case reaches trial, will you act as the trial attorney? v| Yes No
If this is a criminal case, check your status. y’| Retained Counsel

 

 

 

 

Appointed Counsel
If appointed counsel, are you

 

 

Federal Defender
CJA Panel Attorney

 

 

 

 

 

 

In order to appear before this Court an attorney must either be a member in good standing of this Court's
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on

Attorney signature: | S/_Michael Hahn
(Use electronic signature if the appearance form is filed electronically.)

Revised 8/1/2015
